Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 1 of 23 Page ID #:4093




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                                    UNITED STATES DISTRICT COURT
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                                  CENTRAL DISTRICT OF CALIFORNIA
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   13   GERALDINE NICHOLSON, et al.,               )   Case No. 15-07594 DDP (RAOx)
                                                   )
   14
                               Plaintiffs,         )   ORDER RE: DEFENDANTS CITY OF
   15                                              )   LOS ANGELES, GUTIERREZ, AND
              v.                                   )   AMARAL’S MOTION FOR
   16
                                                   )   SUMMARY JUDGMENT
   17   CITY OF LOS ANGELES, et al.,               )
                                                   )
   18                                                  [Dkt. 126, 122]
                               Defendants.         )
   19                                              )
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   21         Presently before the court is the joint Motion for Summary Judgment of
   22   Defendants City of Los Angeles, Officer Miguel Gutierrez, and Officer Everado Amaral.
   23   Having considered the parties’ submissions and heard oral argument, the court adopts
   24   the following Order.
   25   I. BACKGROUND
   26         Defendants Miguel Gutierrez and Everado Amaral are officers of the Los Angeles

   27   Police Department (“LAPD”). (Decl. Gutierrez ¶ 2, Dkt. 122-3). Shortly before 8 o’clock

   28   on the morning of February 10, 2015, Officers Gutierrez and Amaral were driving en
Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 2 of 23 Page ID #:4094



        route to a roadside memorial for a city police officer. (Decl. Gutierrez ¶ 2; Depo.
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        Gutierrez 24:20-25:1, Dkt. 131-5). It was daylight, and both officers were in plainclothes
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        and driving in an unmarked vehicle. (Decl. Gutierrez ¶ 2). On their way to the memorial,
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        Officer Gutierrez glanced out his passenger side window and saw several people
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        congregated in an alley near the intersection of Florence and 10th Avenues. (Decl.
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    6   Gutierrez ¶ 4). These people included minor Plaintiffs J.H. and J.N.G., and a third youth,

    7   later identified as Michael Sanders, holding what Officer Gutierrez believed to be a gun.

    8   (Decl. Gutierrez ¶ 4). At the time of the events, J.N.G. was fifteen years old, and J.H. was

    9   seventeen years old. (Decl. J.H. ¶ 2; Decl. J.N.G. ¶ 2).

   10          Earlier that morning, Plaintiffs J.H. and J.N.G. had been hanging out with Sanders

   11   and another friend in the alley before school. (Decl. J.H. ¶ 3, Dkt. 131-6; Decl. J.N.G. ¶ 3,

   12   Dkt. 131-6). The boys regularly came together in the alley to listen to music, dance, and

   13   freestyle rap. (Decl. J.N.G. ¶ 3). That day, all the boys were standing in a circle, within

   14   arm’s length of each other, dancing and rapping. (Decl. Gutierrez ¶ 4, Decl. J.H. ¶ 4-6). At

   15   the time that Officer Gutierrez observed the scene in the alley, Sanders had been holding

   16   a toy airsoft gun with an orange tip. (Decl. Gutierrez ¶ 4, 11). J.H. and J.N.G. recall that

   17   Sanders was using the toy as a prop while dancing to the beat. (Decl. J.H. ¶ 7; Decl. J.N.G.

   18   ¶ 7). Although disputed, J.H. and J.N.G. maintain that Sanders kept the airgun pointed

   19   downwards around waist-height and never fired it that morning. (Decl. J.H. ¶¶ 7, 10;

   20   Decl. J.N.G. ¶¶ 8-9; Decl. Wooten ¶¶ 6, 7). The boys were students at Alliance Renee and

   21   Meyer Luskin College-Ready Academy, located several blocks away from the alley.

   22   (Decl. J.N.G. ¶ 3; Decl. J.H. ¶ 3; Decl. Wooten ¶ 2). Before Officer Gutierrez emerged on

   23   the scene, the friends had just turned off their music and were preparing to put on their

   24   uniforms and head to school. (Decl. J.H. ¶¶10, 15).

   25          Upon driving past the scene in the alley, Officer Gutierrez exclaimed “Gun, gun,

   26   gun!” to Officer Amaral. (Decl. Gutierrez ¶ 5). Officer Amaral quickly pulled the vehicle

   27   to a stop south of the alley entrance. (Decl. Gutierrez ¶ 6). Without conferring with
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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 3 of 23 Page ID #:4095



        Officer Amaral or taking cover, Gutierrez disembarked from the vehicle and ran toward
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        the alley. (Decl. Gutierrez ¶ 6).
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               As he approached the alley, Officer Gutierrez again saw Sanders holding the toy
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        gun and perceived that it was pointed in the direction of J.H. (Decl. Gutierrez ¶ 7).
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        Plaintiffs contend that Sanders never pointed the gun toward J.H., or any of the other
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    6   boys that morning. (Decl. J.H. ¶¶ 7, 10; Decl. J.N.G. ¶¶ 8-9; Decl. Wooten ¶¶ 6, 7).

    7   Although disputed, Officer Gutierrez reports that he shouted “LAPD, drop your

    8   weapon” at Sanders. (Decl. Gutierrez ¶ 4). The parties further dispute whether Sanders

    9   turned toward Gutierrez with the gun raised, thereby causing Gutierrez to fire at

   10   Sanders. (Decl. Wooten¶ 7; Decl. Gutierrez ¶ 7).

   11          Officer Gutierrez discharged a volley of three gunshots, one of which struck

   12   Plaintiff J.N.G. in the back. (Decl. Gutierrez ¶ 7). J.H. and J.N.G. assert that Gutierrez

   13   fired his gun with one hand while running toward them and stopped only once he was

   14   several feet away. (Decl. J.H. ¶¶ 16, 17). Gutierrez reports that he stood about twenty-

   15   nine feet from Sanders when he fired (Decl. Gutierrez ¶ 7). When Officer Gutierrez fired

   16   the shots, Sanders quickly dropped the airgun to the ground. (Decl. Gutierrez ¶ 7; Decl.

   17   J.H. ¶ 19, 22). When the shots were fired, J.H. was spraying cologne on his face, and

   18   J.N.G. had just begun to put on his school uniform. (Decl. J.N.G. ¶ 15; Decl. J.H. ¶ 15).

   19          Officer Amaral heard the gunshots ring out before he emerged on the scene in the

   20   alley. (Depo. Amaral at 39: 15-16, Dkt. 118). After Amaral arrived, he immediately radio-

   21   ed for three additional police units (Depo. Amaral at 58: 4-12) and, together with Officer

   22   Gutierrez, held all three individuals at gunpoint for several minutes while they waited

   23   for police back-up. (Decl. Gutierrez ¶ 8, 9; Decl. J.H. ¶ 35; Depo. Amaral at 57:22-23;

   24   66:15-18). During this period, Officer Amaral discovered that Plaintiff J.N.G. had been

   25   shot and requested an ambulance. (Decl. Gutierrez ¶ 9).

   26          The parties dispute whether the officers were able to immediately observe that

   27   Sanders had dropped a toy airgun and whether a distance of several feet or more
   28   separated the airgun from Gutierrez and Amaral after the shooting, such that the bright

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 4 of 23 Page ID #:4096



        orange tip was in clear view. (Decl. Gutierrez ¶ 8; Decl. J.H. ¶¶ 27, 29). Neither officer
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        attempted to distance the airsoft gun from Sanders or to pick up the gun from where it
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        had fallen on the ground. (Decl. J.H. ¶ 28; Decl. J.N.G. ¶ 27). While on the ground, J.H.
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        shouted to Officer Gutierrez that the gun was “not even a real gun.” (Decl. J.H. ¶ 27, 34).
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        In addition, J.H. continually asked the officers “What did we do wrong?” and requested
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    6   to know why Gutierrez had shot at them. (Decl. J.H. ¶¶ 34, 25). J.H. and J.N.G. report that

    7   both officers had dumbfounded countenances on their faces upon realizing that the gun

    8   was a toy. (Decl. J.H. ¶ 27; Decl. J.N.G. ¶ 28).

    9          After five to ten minutes, several dozen officers arrived on the scene with weapons

   10   drawn. (Decl. J.N.G. ¶ 32). Gutierrez and Amaral directed the additional officers to

   11   handcuff and search J.H. and J.N.G. for weapons (Decl. Gutierrez ¶ 9; Decl. J.H. ¶ 33, 37;

   12   Amaral Depo. 59:10-17, 71:18-24). J.H. asserts that one LAPD officer violently pressed his

   13   knee into his back while handcuffing him, causing pain. (Decl. J.H. ¶ 37). All the officers

   14   holstered their weapons once Sanders, J.H., and J.N.G. were handcuffed and searched.

   15   (Decl. Gutierrez ¶ 9). A search revealed that none of the youth had any weapons

   16   concealed on their person. (Decl. J.H. ¶ 25; J.N.G ¶ 37.) Once the handcuffing and search

   17   was completed, Officers Amaral and Gutierrez were separated from the scene of the

   18   accident, monitored by supervisors, and had no further contact with J.H. and J.N.G.

   19   (Decl. Gutierrez ¶ 10).

   20          Other LAPD officers continued to detain Plaintiffs J.H. and J.N.G. for an

   21   investigation into a potential weapons violation. (Depo. Amaral 60:22-24; 62: 3-6). An

   22   ambulance arrived to transport Plaintiff J.N.G. to a hospital. (Decl. J.N.G. ¶¶ 36, 38).

   23   Except while he was being medically examined, J.N.G. remained in handcuffs for

   24   approximately five hours until he was interrogated by police detectives. (Decl. J.N.G. ¶

   25   40, 42). During his time in the hospital and in police interrogation, J.N.G. requested to

   26   speak with, but was denied access to, his mother Plaintiff Geraldine Nicholson. (Decl.

   27   J.N.G. ¶ 41). Similarly, Plaintiff J.H. remained in handcuffs for several hours until mid-
   28   way through his interrogation by detectives at a police station. (Decl. J.H. ¶ 37, 42).

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 5 of 23 Page ID #:4097



        Plaintiffs maintain that Defendants directed the back-up officers to handcuff and initiate
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        a weapons violation investigation that resulted in their continued detention for hours
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        after the incident. (Depo. Gutierrez, 130:3-6; Depo. Amaral, 78:21-23, 79:2-10).
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               On the basis of these facts, Plaintiffs J.H., J.N.G, and Nicholson brought suit
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        against the City of Los Angeles, various officials of the LAPD, and Officers Gutierrez and
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    6   Amaral, alleging various violations of their state and federal rights arising out of the

    7   shooting and the subsequent detention. Plaintiffs’ First Amended Complaint (“FAC”)

    8   asserts ten causes of action including, inter alia, violations of Fourth and Fourteenth

    9   Amendment rights under 42 U.S.C. § 1983, intentional infliction of emotional distress,

   10   false arrest and false imprisonment, assault and battery, negligence, and the Bane Act,

   11   Cal. Civil Code § 52.1.

   12          Defendants Gutierrez, Amaral, and the City of Los Angeles now jointly move for

   13   summary judgment on the claims asserted in the FAC.1

   14   II. LEGAL STANDARD

   15          Summary judgment is appropriate where the pleadings, depositions, answers to

   16   interrogatories, and admissions on file, together with the affidavits, if any, show “that

   17   there is no genuine dispute as to any material fact and the movant is entitled to judgment

   18   as a matter of law.” Fed. R. Civ. P. 56(a). A party seeking summary judgment bears the

   19   initial burden of informing the court of the basis for its motion and of identifying those

   20   portions of the pleadings and discovery responses that demonstrate the absence of a

   21   genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). All

   22   reasonable inferences from the evidence must be drawn in favor of the nonmoving party.

   23   See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 242 (1986). If the moving party does not

   24   bear the burden of proof at trial, it is entitled to summary judgment if it can demonstrate

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         Subsequent to Defendants’ summary judgment motion, Plaintiffs conceded the claims
        brought in their FAC under the First Amendment, Fifth Amendment, and California
   27   Civil Code § 51.7. (Opp. to Def. Gutierrez’s MSJ at 17). Defendants City of Los Angeles,
   28   Gutierrez, and Amaral’s motion for summary judgment is GRANTED with respect to
        those claims conceded.
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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 6 of 23 Page ID #:4098



        that “there is an absence of evidence to support the nonmoving party’s case.” Celotex, 477
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        U.S. at 323.
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               Once the moving party meets its burden, the burden shifts to the nonmoving party
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        opposing the motion, who must “set forth specific facts showing that there is a genuine
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        issue for trial.” Anderson, 477 U.S. at 256. Summary judgment is warranted if a party
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    6   “fails to make a showing sufficient to establish the existence of an element essential to

    7   that party’s case, and on which that party will bear the burden of proof at trial.” Celotex,

    8   477 U.S. at 322. A genuine issue exists if “the evidence is such that a reasonable jury

    9   could return a verdict for the nonmoving party,” and material facts are those “that might

   10   affect the outcome of the suit under the governing law.” Anderson, 477 U.S. at 248. There

   11   is no genuine issue of fact “[w]here the record taken as a whole could not lead a rational

   12   trier of fact to find for the nonmoving party.” Matsushita Elec. Indus. Co. v. Zenith Radio

   13   Corp., 475 U.S. 574, 587 (1986).

   14          It is not the court’s task “to scour the record in search of a genuine issue of triable

   15   fact.” Keenan v. Allan, 91 F.3d 1275, 1278 (9th Cir.1996). Counsel have an obligation to lay

   16   out their support clearly. Carmen v. San Francisco Sch. Dist., 237 F.3d 1026, 1031 (9th Cir.

   17   2001). The court “need not examine the entire file for evidence establishing a genuine

   18   issue of fact, where the evidence is not set forth in the opposition papers with adequate

   19   references so that it could conveniently be found.” Id.

   20   III. DISCUSSION

   21          A. Qualified Immunity

   22          Defendants claim qualified immunity under federal law for those causes of action

   23   arising under Section 1983. Reasonable mistakes of law, fact, or both may trigger

   24   qualified immunity. Mattos v. Agarano, 661 F.3d 433, 440 (9th Cir. 2011) (en banc).

   25   "Qualified immunity gives government officials breathing room to make reasonable but

   26   mistaken judgments," and "'protects' all but the plainly incompetent or those who

   27   knowingly violate the law.'" Green v. Fresno, 751 F.3d 1039, 1051 (9th Cir. 2014) (citing
   28   Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2083 (2011)).

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 7 of 23 Page ID #:4099



               The Supreme Court has established a two-prong test to determine whether
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        qualified immunity applies. Pearson v. Callahan, 555 U.S. 223, 235-36 (2009). A court must
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        deny qualified immunity when (1) the allegations, if true, amount to a constitutional
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        violation, and (2) the constitutional violation was clearly established at the time. Id. In
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        applying the second prong, a court looks to whether “the right at issue was clearly
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    6   established at the time of the incident, such that a reasonable officer would have

    7   understood her conduct to be unlawful in that situation.” Green v. City and County of San

    8   Francisco, 751 F.3d 1039, 1051-52 (9th Cir. 2014) (citation and quotations omitted).

    9          The court applies this federal qualified immunity analysis to each of Plaintiffs’

   10   Section 1983 claims below.

   11                   1. Section 1983 Claims under the Fourth Amendment

   12          Defendants City of Los Angeles, Gutierrez, and Amaral move for summary

   13   judgment on Plaintiffs’ Section 1983 challenges under the Fourth Amendment. For

   14   analytical ease, the court divides its Fourth Amendment analysis of these into two stages:

   15   the shooting and the post-shooting events.

   16                        a.      Shooting

   17          As a preliminary matter, the parties dispute whether Gutierrez’s shots were

   18   directed at J.N.G and J.H., rather than at Sanders, who held the airsoft gun. “Violation of

   19   the Fourth Amendment requires an intentional acquisition of physical control.” United

   20   States v. Al Nasser, 555 F.3d 722, 728 (9th Cir. 2009) (quoting Brower v. Cty. of Inyo, 489 U.S.

   21   593, 596 (1998)). Based on this intentionality principal, Defendants argue that Officer

   22   Gutierrez must have had the intent to seize a particular individual, here J.H. or J.H.G., in

   23   order for the police encounter to constitute a “seizure” of that individual cognizable

   24   under the Fourth Amendment.

   25          This interpretation comports with the Ninth Circuit’s analysis in United States v.

   26   Al-Nasser, 555 F.3d 722 (9th Cir. 2009). There, the Ninth Circuit held that “[a] person is

   27   seized when he is ‘meant to be stopped by [a particular law enforcement action] ... and
   28   [is] so stopped.’” Al-Nasser, 555 F.3d at 731 (quoting Brendlin, 559 U.S. 249, 261 (2007)).

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 8 of 23 Page ID #:4100



        Put differently, “a seizure occurs where a person is stopped by the very instrumentality
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        set in motion or put in place in order to achieve that result.” Id. (quotations omitted); see
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        Scott v. Harris, 550 U.S. 372 (2007) (defining seizure as the “governmental terminal of
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        freedom of movement through means intentionally applied”).
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               Applying this standard, the court concludes that neither J.N.G nor J.H. may bring
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    6   Fourth Amendment claims as a result of being seized by Officer Gutierrez’s gunfire.

    7   Plaintiffs have not created a triable issue of fact that Officer Gutierrez intended to use

    8   deadly force against J.N.G. or J.H. when it was Sanders who held the airsoft gun.

    9                        b.     Post-Shooting Events

   10          J.N.G. and J.H. also raise Fourth Amendment claims related to the events that

   11   transpired following the shooting.

   12                               i.     Unlawful Arrest

   13          Plaintiffs assert that they were unlawfully arrested after the shooting. “A claim for

   14   unlawful arrest is cognizable under § 1983 as a violation of the Fourth Amendment,

   15   provided the arrest was without probable cause or other justification.” Velazquez v. City

   16   of Long Beach, 793 F.3d 1010, 1018 (9th Cir. 2015) (quotations omitted). Probable cause

   17   exists when, based on the totality of the circumstances known to officers at the time,

   18   there is a “fair probability or substantial chance of criminal activity.” Velazquez, 793 F.3d

   19   at 1018. “[A] search or seizure of a person must be supported by probable cause

   20   particularized with respect to that person.” Crowe v. Cty. of San Diego, 608 F.3d 406, 439

   21   (9th Cir. 2000) (quotations omitted).

   22          The requirement of probable cause yields to the lower threshold of “reasonable

   23   suspicion” when police officers are engaged in a brief investigatory stop, or Terry stop, in

   24   which “a police officer observes unusual conduct which leads him to conclude in light of

   25   his experience that criminal activity may be afoot.” Terry v. Ohio, 392 U.S. 1, 30 (1968).

   26   The classification of the seizure—whether an investigatory Terry stop or an arrest—will

   27   depend upon a host of factors. These include “whether the suspect was handcuffed;
   28   whether the police drew their weapons; whether the police physically restrict the

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 9 of 23 Page ID #:4101



        suspect's liberty, including by placing the suspect in a police car; whether special
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        circumstances (such as an uncooperative suspect or risk of violence) are present to justify
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        the intrusive means of effecting a stop; and whether the officers are outnumbered.” Sialoi
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        v. City of San Diego, 823 F.3d 1223, 1232 (9th Cir. 2016) (quotations omitted). Even when a
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        seizure is considered a Terry stop, it must “last no longer than is necessary to effectuate
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    6   the purpose of the stop.” United States v. Place, 462 U.S. 696, 709 (1983).

    7          After the gunshots were fired, Officers Gutierrez and Amaral detained J.H., J.N.G.,

    8   and Sanders for several minutes before additional police arrived. (Decl. Gutierrez ¶ 9;

    9   Decl. J.H. ¶ 35). The airsoft gun remained nearby where it had been dropped by Sanders.

   10   (Decl. J.H. ¶¶ 28; Decl. J.N.G. ¶¶ 27). Plaintiffs contend that the officers were able to

   11   quickly discern that the gun was in fact a toy airsoft gun with a bright orange tip, and not

   12   a deadly weapon. (Decl. J.H. ¶¶ 27, 29). When they were apprehended, the youth had

   13   backpacks and their school uniforms. (Decl. J.H. ¶ 6, 11; Decl. J.N.G. ¶ 12; Decl. Wooten ¶

   14   19). While on the ground, J.H. shouted to Officer Gutierrez that the gun was “not even a

   15   real gun.” (Decl. J.H. ¶ 27, 34). In addition, J.H. continually asked the officers “What did

   16   we do wrong?” and asked why Gutierrez had shot at them. (Decl. J.H. ¶¶ 34, 25).

   17   Plaintiffs maintain that the officers knew they were mistaken because both had

   18   dumbfounded countenances on their faces. (Decl. J.H. ¶ 27; Decl. J.N.G. ¶ 28).

   19          In the immediate aftermath of the incident, the officers may have engaged in an

   20   investigatory stop of J.H. and J.N.G. to discern what had transpired. At some point,

   21   however, the detention evolved into a full-fledged arrest that required probable cause

   22   that J.H. and J.N.G. had been engaged in criminal activity. Once police back-up arrived at

   23   the scene, the officers instructed their colleagues to handcuff and search J.H. and J.N.G.

   24   (Decl. Gutierrez ¶ 9; Decl. J.H. ¶ 33, 37; Depo. Amaral 59:10-17, 71:18-24). A search

   25   revealed that none of the youth had any weapons concealed on their person. (Decl. J.H. ¶

   26   25; J.N.G ¶ 37.). Even though no weapons were found, both J.H. and J.N.G. remained in

   27   handcuffs and under police supervision for hours. Plaintiffs maintain that Defendants
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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 10 of 23 Page ID
                                 #:4102


      initiated a sham weapons investigation that resulted in their detention long after the
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      dissipation of probable cause.
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             Taking these facts as true, that Gutierrez decided to pursue an arrest of J.H. and
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      J.N.G. without probable cause that either posed a public danger or had been engaged in
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      any crime, then his actions would run afoul of the Fourth Amendment’s protections
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  6   against unlawful arrest. Moreover, a jury could find that Gutierrez had no

  7   “particularized” cause to believe that J.H. and J.N.G, neither of whom had been holding

  8   the gun (and one of whom was the suspected crime victim), were engaged in criminal

  9   activity. Crowe, 608 F.3d at 439.

 10          Defendants counter that, even if they had known that the airsoft gun was a toy, a

 11   toy gun could well be mistaken for a real gun and used in the commission of a crime,

 12   which would have created probable cause for the arrest. This explanation, however, is

 13   undercut by the fact that Sanders, J.H., and J.N.G. were standing in a tight circle within

 14   arm’s length and facing each other. (Decl. Gutierrez ¶ 4, Decl. J.H. ¶ 4-6). At such close

 15   distance, it seems improbable that the orange tip of the airsoft gun would have been

 16   hidden from J.H. and J.N.G.’s view, especially if the tip of the gun was pointed at either

 17   individual. Although it is questionable under these circumstances that there was

 18   probable cause that Sanders had committed a crime with a toy gun, the court does not

 19   rule out this theory as a matter of law because an airsoft gun could hypothetically cause

 20   injury or be used in the commission of a crime.

 21          Taking all facts in the light most favorable to Plaintiffs, however, a reasonable

 22   officer in Gutierrez’s position would have known that it was unlawful to detain J.H. and

 23   J.N.G. in the absence of probable cause. In Siaoloi v. City of San Diego, the Ninth Circuit

 24   relied upon “well settled” concepts of probable cause to conclude that police officers

 25   were not entitled to qualified immunity when they decided to handcuff three youths and

 26   “placed them in the back of a police car after learning the [gun] was a toy.” 823 F.3d 1223,

 27   1233 (9th Cir. 2016). Although Sialoi was not decided at the time of the incident, it relied
 28   upon a long line of case law, holding that “[a] person may not be arrested, or must be

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 11 of 23 Page ID
                                 #:4103


      released from arrest, if previously established probable cause has dissipated.” United
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      States v. Ortiz-Hernandez, 427 F.3d 567, 574 (9th Cir. 2005). In United States v. Lopez, 482
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      F.3d 1067, 1072 (9th Cir. 2007), for example, the Ninth Circuit affirmed that “there may
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      initially be probable cause justifying an arrest, but additional information obtained at the
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      scene may indicate that there is less than a fair probability that the [individual] has
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  6   committed or is committing a crime. In such cases, execution of the arrest or continuation

  7   of the arrest is illegal.” In light of this settled law, Gutierrez is not entitled to qualified

  8   immunity on Plaintiffs’ unlawful arrest claims under the Fourth Amendment.

  9                         ii. Excessive Force

 10           Plaintiffs’ excessive force claims under the Fourth Amendment are governed by

 11   the “reasonableness” standard enunciated in Graham v. Connor, 490 U.S. 386, 397 (1989).

 12   Under Graham, “[t]he question is whether the officers' actions are ‘objectively reasonable’

 13   in light of the facts and circumstances confronting them, without regard to their

 14   underlying intent or motivation.” Id. at 397 (citation omitted). This analysis requires an

 15   evaluation of the “totality of the circumstances,” which can include “the severity of the

 16   crime at issue, whether the suspect poses an immediate threat to the safety of the officers

 17   or others, and whether he is actively resisting arrest or attempting to evade arrest by

 18   flight.” Id.

 19           The court finds that there is no constitutional violation here arising from the fact

 20   that the officers continued to point guns at Plaintiffs until the scene was secure. Whether

 21   officers are constitutionally permitted to draw and point their weapons will, of course,

 22   vary with the circumstances of each situation. Here, the chain of events triggering this

 23   unfortunate situation was that Sanders exercised poor judgment in carrying a simulated

 24   gun in a public place. The risk that Sanders created for himself and those around him

 25   cannot be overstated. Simulated deadly weapons carry the clear risk of a deadly

 26   confrontation. Because of this aberrant, essentially inexcusably risky conduct by Sanders,

 27   the officers cannot be faulted for continuing to point their weapons at all concerned until
 28   Sanders and his friends were handcuffed, thus permitting a more deliberate

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 12 of 23 Page ID
                                 #:4104


      investigation. The fact that the officers learned relatively early in this encounter that the
  1
      gun was a simulated gun does not alter this conclusion. As noted previously, simulated
  2
      guns can be used to commit crimes. Additionally, people who lack the judgment to not
  3
      appreciate the risk of carrying a simulated gun in public, may also lack judgment in other
  4
      ways. This could include carrying another weapon, such as a knife, or acting in an
  5

  6   unexpected manner. That Plaintiffs J.H. and J.NG. also had guns pointed at them until

  7   they could be secured is likewise understandable. The officers were confronted with a

  8   situation in which they had little information about the relationship between the

  9   participants or exactly what had transpired before shots were fired. Therefore, the court

 10   finds the officers did not violate Plaintiffs’ constitutional rights by pointing their

 11   weapons at J.H. and J.N.G. until they were handcuffed.

 12          However, a different logic may apply if J.H. and J.N.G. remained in handcuffs for

 13   longer than was constitutionally permissible. J.N.G. was bleeding from a gunshot wound

 14   to his back, yet remained handcuffed for about five hours, including while he was in the

 15   ambulance and awaiting treatment at the hospital. (Decl. J.N.G. ¶¶ 36, 38, 40, 42). In

 16   addition to being handcuffed to the gurney in the ambulance, J.N.G. was accompanied

 17   by an LAPD officer who “maintained a constant surveillance over [him].” (J.N.G. ¶ 38).

 18   After being medically examined, J.N.G. was re-handcuffed, which “only exacerbated the

 19   pain in [his] back.” (Decl. J.N.G. ¶ 40). J.H., the suspected crime victim, was handcuffed

 20   for about four hours, including being “left handcuffed to a chair in an interrogation room

 21   for hours.” (Decl. J.H. ¶ 42, 43). He adds that one LAPD officer violently pressed his knee

 22   into his back while handcuffing him, causing pain. (Decl. J.H. ¶ 37). “[B]ecause

 23   handcuffing ‘substantially aggravates the intrusiveness of a detention,’ it follows that

 24   circumstances which would justify a detention will not necessarily justify a detention by

 25   handcuffing.” Meredith v. Erath, 342 F.3d 1057, 1063 (9th Cir. 2003); see also Tekle v. U.S.,

 26   511 F.3d 839, (9th Cir. 2001); Franklin v. Foxworth, 31 F.3d 873, 876 (9th Cir. 1994)

 27   (“Detentions, particularly lengthy detentions, of the elderly, or of children, or of
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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 13 of 23 Page ID
                                 #:4105


      individuals suffering from a serious illness or disability raise additional [Fourth
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      Amendment] concerns.”).
  2
             Here, in the absence of evidence of a violent crime, active resistance, or an
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      immediate safety threat posed by J.H. or J.N.G., see Graham, 490 U.S. at 397, a reasonable
  4
      jury could determine that the sustained handcuffing of J.H. and J.N.G. under the
  5

  6   conditions described above constituted excessive force. See Velazquez v. City of Long Beach,

  7   793 F.3d 1010, 1025 (9th Cir. 2015) (holding that “[w]here officers are presented with

  8   circumstances indicating that no crime was committed, the ‘severity of the crime at issue’

  9   factor is necessarily diminished as a justification for the use of force”). A reasonable

 10   officer in Gutierrez’s situation should have known that Plaintiffs’ prolonged handcuffing

 11   was unlawful when the “circumstances indicat[ed] that no crime was committed,” and

 12   when neither youth had resisted arrest or posed a safety threat. Id. Taking all of these

 13   circumstances into consideration, the court finds that Officer Gutierrez is not entitled to

 14   qualified immunity on Plaintiffs’ excessive force claims.

 15                        iii. Integral Participation

 16          Finally, even though Officer Gutierrez separated from the scene following the

 17   handcuffing of J.H. and J.N.G., his actions were integral in Plaintiffs’ initial arrest and

 18   detention for a potential weapons violation. Section 1983 “extends liability to those actors

 19   who were integral participants in the constitutional violation, even if they did not

 20   directly engage in the unconstitutional conduct themselves.” Hopkins v. Bonvicino, 573

 21   F.3d 752, 770 (9th Cir. 2009). Integral participation means that an officer contributed

 22   meaningfully to the action, such as by providing armed back-up or ordering the

 23   unconstitutional action. See id. at 770, n.11. It does not “require that each officer's actions

 24   themselves rise to the level of a constitutional violation.” Id.

 25          Gutierrez admitted that he ordered the handcuffing of J.H. and J.N.G. (Amaral

 26   Depo. 78:21-23; Gutierrez Depo. 130:3-6). In addition, Gutierrez was “aware of the

 27   decision” to detain Plaintiffs pursuant to a weapons investigation, “did not object to it,”
 28   and directly participated in it. Boyd v. Benton Cty., 374 F.3d 773 (9th Cir. 2004). Thus, a

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 14 of 23 Page ID
                                 #:4106


      reasonable trier of fact could conclude that, more than a “mere bystander,” Officer
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      Gutierrez directed Plaintiffs’ arrest, even after probable cause may no longer have
  2
      existed. Chuman v. Wright, 76 F.3d 292, 294 (9th Cir. 1996).
  3
             Conversely, Officer Amaral, who arrived on the scene after the gunshots were
  4
      fired, was essentially unaware of the details of what had transpired. Therefore, Amaral
  5

  6   did not act in violation of the Fourth Amendment in assisting his partner Gutierrez in

  7   detaining J.H. and J.N.G. after the shooting.

  8                   2. Section 1983 Claims under the Fourteenth Amendment

  9          Plaintiffs also bring substantive due process claims under the Fourteenth

 10   Amendment as part of their Section 1983 challenge. A substantive due process violation

 11   arises when an officer’s action “shocks the conscience.” Wilkinson v. Torres, 610 F.3d 554,

 12   556 (9th Cir. 2010). The “shock the conscience” standard requires that (1) an officer act

 13   with deliberate indifference or, (2) if deliberation is impractical under the circumstances,

 14   that an officer act with a “purpose to harm . . . unrelated to legitimate law enforcement

 15   objectives.” Id. (quotations omitted). Deliberate indifference occurs when a police officer

 16   “disregarded a known or obvious consequence of his action.” Patel v. Kent Sch. Dist., 648

 17   F.3d 965, 974 (9th Cir. 2011). 2

 18          In evaluating whether Officer Gutierrez is entitled to qualified immunity under

 19   the 14th Amendment, the court finds that a reasonable jury could draw the factual

 20   conclusions below:

 21              •   Officer Gutierrez observed what he believed to be a firearm displayed by
                     Sanders in close proximity to other individuals. (Decl. Gutierrez ¶ 4).
 22
                 •   Sanders was not engaged in any threatening or menacing behavior, and
 23                  kept the airsoft gun securely pointed toward the ground. (Decl. J.H. ¶¶ 7,
                     10; Decl. J.N.G. ¶¶ 8-9; Decl. Wooten ¶¶ 6, 7).
 24

 25

 26
      2Because the court excluded J.H. and J.N.G. from part of the Fourth Amendment analysis
 27   under the assumption that they were not “seized” by Officer Gutierrez’s shots, see supra
 28   Part III.A.1.a, the court now engages in the substantive due process analysis as it pertains
      to his behavior during the shooting.
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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 15 of 23 Page ID
                                 #:4107


                  •   The youth, equipped with school uniforms and backpacks, (Decl. J.H. ¶ 6,
  1
                      11; Decl. J.N.G. ¶ 12; Decl. Wooten ¶ 19), looked to be minors on their way
  2                   to school and not gang members.
                  •   When they heard the shots ring out, J.H. was spraying cologne on his face,
  3
                      and J.N.G. had just begun to put on his school uniform. (Decl. J.N.G. ¶ 15;
  4                   Decl. J.H. ¶ 15).
                  •   The incident occurred several blocks away from Plaintiffs’ school, (Decl.
  5
                      J.N.G. ¶ 3; Decl. J.H. ¶ 3; Decl. Wooten ¶ 2), and at a time (shortly before
  6                   8am) when students could reasonably be expected to be playing outside.
  7               •   Neither officer had been responding to recent reports of criminal activity in
                      the area. (Gutierrez Depo. 24:20-25:1; 26:25-27:6).
  8

  9          Taking all facts in the light most favorable to Plaintiffs, nothing other than the

 10   suspected presence of a gun in Sanders’s hand suggested to Officer Gutierrez that a

 11   crime was afoot. 3 “Our case law clearly establishes that the use of deadly force against a

 12   suspect simply because he is holding a gun—even when that suspect is in proximity to

 13   police officers or other individuals . . . is not ipso facto reasonable, particularly when that

 14   gun is not pointed at another individual or otherwise wielded in a threatening fashion.”

 15   Hughes v. Kisela, 862 F.3d 775, 789 (9th Cir. 2016), as amended (June 27, 2017) (citations

 16   omitted).

 17          This is not to say, of course, that the presence of a gun was not significant. The

 18   court does not fault Officer Gutierrez for not recognizing that the gun was a toy during

 19   the heat of the encounter. The court understands that Officer Gutierrez believed that the

 20   gun posed an imminent threat of death or serious harm to other individuals. Officer

 21   Gutierrez then acted as he acted. 4

 22

 23   3
        The parties dispute whether Sanders’ gun was being pointed at anyone, whether
 24   Gutierrez delivered a verbal warning, and whether Sanders turned toward Gutierrez
      before he fired. (See Decl. Wooten ¶¶ 5-7).
 25   4 To avoid these incidents of misidentification, more state legislatures might consider


 26   adopting measures to visually distinguish simulated weapons and to ban those colored
      to look like real guns, which might have avoided these tragedies in the first instance. See
 27   Estate of Lopez by & through Lopez v. Gelhaus, No. 16-15175, 2017 WL 4183595, at *4 (9th Cir.
 28   Sept. 22, 2017) (officer who fatally shot 12-year-old child “realized for the first time that
      the gun’s coloring was different” from a real gun once he was close enough to stand over
                                                     15
Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 16 of 23 Page ID
                                 #:4108


             Reduced to its essence here, however, all that Officer Gutierrez saw and knew was
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      that there was a gun in the possession of an unknown person (Sanders), who was
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      standing in the presence of other individuals. The court notes that, to the extent that
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      labels may sometimes be useful in designating a general category of cases, the present
  4
      case and those below are characterized as “minimal information” cases. In cases similar
  5

  6   to those presented here, the information known to officers was so minimal that the

  7   circumstances required an assessment before the use of deadly force. See, e.g. Gelhaus,

  8   2017 WL 4183595, at *8-*9 (holding that deadly force was unlawful when officer shot 12-

  9   year-old boy with a toy gun, although he did not display any intent to use the weapon,

 10   which was pointed downward at his side); George v. Morris, 736 F.3d 829, 839 (9th Cir.

 11   2013) (holding that deadly force was unlawful when, in responding to a domestic

 12   disturbance, “deputies shot the sixty-four-year-old decedent without objective

 13   provocation while he used his walker, with his gun trained on the ground”); Shannon v.

 14   Cty. of Sacramento, No. 215CV00967KJMCKD, 2016 WL 1138190, at *6 (E.D. Cal. Mar. 23,

 15   2016) (holding that deadly force was unlawful when police shot at man walking on the

 16   sidewalk cradling an airsoft gun, but who did not pose a safety threat to officers or

 17   bystanders); Gonzales-Guerrero v. City of San Jose, No. CV12-03541 PSG, 2013 WL 3303144,

 18   at *5 (N.D. Cal. June 28, 2013) (holding that deadly force was unlawful when police shot

 19   at costumed partygoer with fake gun painted gold and decorated with glitter).

 20          In minimal information cases, police officers must, and indeed we expect them to,

 21   accept a certain amount of the risk inherent in taking sufficient time to gather the

 22   information that would make the decision to use deadly force objectively reasonable

 23   under the circumstances. 5 Were this not the case, the court suspects there would be more

 24

 25   the child); see Cal. Penal Code § 16700(4) (mandating that certain airsoft guns, to avoid
 26   being considered imitation guns, contain fluorescent markings).
      5 In view of Plaintiffs’ submissions, the court has a reasonable basis to believe that that

 27   there will be evidence presented at trial that officers are expected to follow their training
 28   and assess a situation before the use of deadly force. See Smith v. City of Hemet, 394 F.3d
      689, 703 (9th Cir. 2005) (en banc) (holding that a jury may rely on evidence of proper
                                                    16
Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 17 of 23 Page ID
                                 #:4109


      needless shootings. In noting the above, the court in no way diminishes the fact that
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      police are often requested to make split-second decisions as circumstances evolve.
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             For example, the court can envision situations where the individual with the gun
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      is lawfully in possession of it, and is defending himself from a robbery or assault. The
  4
      court finds it impermissible to subject that individual to the risk that, in such situations,
  5

  6   the police are entitled to immediately use deadly force. The court is also concerned that

  7   permitting an officer to use deadly force under the minimal information known by

  8   Officer Gutierrez could put innocent individuals at unreasonable risk of harm. This is

  9   particularly true here, in view of the obvious risk of serious injury to J.N.G. or J.H., both

 10   of whom stood within arm’s length of Sanders.

 11          Finally, that a person possessing a firearm, with no prior knowledge of a police

 12   officer’s presence, may turn toward an officer shouting a command does not change the

 13   analysis. See Gelhaus, 2017 WL 4183595, at *17 (“Turning is also the most natural reaction

 14   when someone yells in your direction from behind.”). If the rule were otherwise, every

 15   startled individual who is engaged in defending himself would be placed in jeopardy. Of

 16   course, this situation would be different if, for example, the officer knew the individual

 17   had a history of violence, or had other particularized information that the individual was

 18   about to commit a crime with the firearm.

 19          In light of the above analysis, the court concludes that Officer Gutierrez is not

 20   entitled to qualified immunity on J.H. and J.N.G.’s Fourteenth Amendment claims. A

 21   finder of fact could conclude that deliberation was practical under the circumstances, and

 22   that Gutierrez disregarded the known or obvious risks of injury to J.H. and J.N.G. when

 23   he fired at Sanders without taking time to assess the situation.

 24          The court further finds that Officer Amaral’s limited actions leading up to the

 25   shooting do not constitute a violation of the Fourteenth Amendment. Therefore, unlike

 26

 27

 28   police procedures and practices to determine whether conduct was constitutionally
      reasonable).
                                                 17
Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 18 of 23 Page ID
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      Officer Gutierrez, Officer Amaral is entitled to qualified immunity with respect to
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      Plaintiffs’ Fourteenth Amendment claims. 6
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             B. State Law Claims
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             Defendants Gutierrez, Amaral, and the City of Los Angeles additionally move for
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      summary judgment on each of Plaintiffs’ state law claims arising from the same events
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  6   described above. The court examines each claim in turn, first to determine whether it is

  7   subject to state immunity law and then to decide whether there remain triable issues of

  8   material fact that would defeat summary judgment.

  9                 1. State Immunity Law

 10          “The doctrine of qualified governmental immunity is a federal doctrine that does

 11   not extend to state tort claims against government employees.” Venegas v. County of L.A.,

 12   153 Cal.App.4th 1230 (2007) (quotations omitted). Instead, Defendants raise two

 13   provisions, California Civil Code § 815.2(b) and § 821.6, to immunize themselves from

 14   liability for claims arising under state law.

 15          The first of these, Section 821.6, provides that “a public employee is not liable for

 16   injury caused by his instituting or prosecuting or any judicial or administrative

 17   proceeding within the scope of his employment, even if he acts maliciously and without

 18   probable cause.” Section 815.2 complements this provision by adding that, “except as

 19   otherwise provided by statute, a public entity is not liable for an injury resulting from an

 20   act or omission of an employee of the public entity where the employee is immune from

 21

 22
      6
       Defendants also challenge the claim that Plaintiff Geraldine Nicholson was deprived of
      her rights to familial association under the Fourteenth Amendment because of her
 23   inability to contact her child J.N.G. for several hours while he was undergoing treatment
 24   for his gunshot wound and interrogated by police detectives. Plaintiffs do not squarely
      rebut Defendants’ challenge to this claim in their briefing. Even had they done so,
 25   Gutierrez and Amaral are entitled to qualified immunity on this charge because a
 26   reasonable officer would not have known that such behavior “shocked the conscience.”
      Other cases of “shock the conscience” behavior have rested on significantly more extreme
 27   circumstances of familial separation. See, e.g., Kelson v. City of Springfield, 767 F.2d 651,
 28   654–55 (9th Cir. 1985) (death of child); Lee v. City of Los Angeles, 250 F.3d 668, 685–86 (9th
      Cir. 2001) (two-year separation of child).
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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 19 of 23 Page ID
                                 #:4111


      liability.” Put differently, public entities cannot be held liable for the acts of their
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      employees if the employees have immunity for those acts.
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              However, these provisions have limited effect in this case. Conceivably, the
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      immunity provision of Section 821.6 might apply to the officers’ instigation of the
  4
      weapons investigation. Yet California public employees, including police officers, are not
  5

  6   necessarily immune from suit for false arrest or false imprisonment. See Cal. Gov’t Code

  7   § 820.4; Sullivan v. County of L.A., 12 Cal.3d 710, 721 (1974). Moreover, to the extent other

  8   claims are “based . . . on the same facts,” “derivative of,” or “related to” false arrest

  9   claims, then then those claims may survive the immunity hurdle as well. See Cousins v.

 10   Lockyer, 568 F.3d 1063, 1072 (9th Cir. 2009) (refusing to grant immunity for negligence

 11   claims arising from false imprisonment claim). Therefore, Plaintiffs’ state claims may

 12   proceed, despite § 815.2(b) and § 821.6.

 13                 2. The Bane Act

 14          The Bane Act, Cal. Civil Code § 52.1, provides a cause of action when a person

 15   “interferes [or attempts to interfere] by threat, intimidation, or coercion with the exercise

 16   of enjoyment by any individual” of federal or state rights. Coercion must be

 17   “independent from the coercion inherent in the wrongful detention itself.” Shoyoye v.

 18   County of Los Angeles, 203 Cal.App.4th 947, 959 (2012). Specifically, such separate and

 19   independent coercion is present when “an arrest is unlawful and excessive force is

 20   applied in making the arrest.” Bender v. County of L.A., 217 Cal.App.4th 968, 978 (2013).

 21   Because, as determined above, Plaintiffs J.H. and J.N.G. may have unlawful arrest and

 22   excessive force claims against Gutierrez arising under the Fourth Amendment, see supra

 23   Part III.A.1.c, their Bane Act claim against Gutierrez also survives.

 24                 3. False Arrest/False Imprisonment

 25          Defendants further move for summary judgment on Plaintiffs’ false arrest and

 26   false imprisonment claims. In California, false imprisonment is “the unlawful violation of

 27   the personal liberty of another.” Asgari, 15 Cal.4th at 757. More specifically, false
 28   imprisonment requires “the nonconsensual, intentional confinement of a person, without

                                                     19
Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 20 of 23 Page ID
                                 #:4112


      lawful privilege, for an appreciable length of time, however short.” George v. City of Long
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      Beach, 973 F.2d 706, 710 (9th Cir.1992) (quotations omitted). False arrest is not a separate
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      tort, but merely one manner of committing a false imprisonment. Collins v. City & Cty. of
  3
      San Francisco, 50 Cal.App.3d 671, 673 (1975).
  4
             Under California Penal Code § 847(b), a police officer is immune from liability for
  5

  6   false imprisonment when, “acting within the scope of his or her authority,” she makes a

  7   “lawful” arrest or “ha[s] reasonable cause to believe the arrest was lawful.” Because a

  8   trier of fact may find that Gutierrez’s arrest of J.H. and J.N.G. was not lawful under the

  9   Fourth Amendment, the court declines to award summary judgment in Gutierrez’s favor

 10   on false arrest/false imprisonment claims that are predicated on the same facts.

 11                 4. Assault and Battery

 12          The tort of civil battery involves the act of “intentional, unlawful and harmful

 13   contact.” Piedra v. Dugan, 123 Cal.App.4th 1483, 1495 (2004). Battery requires a showing

 14   that (1) an officer “intentionally did an act which resulted in a harmful or offensive

 15   contact with the plaintiff's person,” (2) such act was performed without the plaintiff’s

 16   consent, and (3) consequent injury or harm. Id. The tort of assault has similar elements.

 17   See Yun Hee So v. Sook Ja Shin, 212 Cal.App.4th 652, 668-69 (2013). Unlike with battery,

 18   however, the tort of assault is complete when a plaintiff’s anticipation of harm occurs.

 19   Garcia v. City of Merced, 637 F.Supp.2d 731, 748 (E.D. Cal. 2008).

 20          In the context of a police detention, a plaintiff alleging battery or assault must

 21   additionally show that the officer’s use of force was “unreasonable” under the

 22   circumstances presented. This analysis is similar to the reasonableness inquiry governing

 23   federal excessive force claims under the Fourth Amendment. See Champommier v. United

 24   States, No. CV11-10538-MWF PJWX, 2013 WL 4502069 at *21 (C.D. Cal. Aug. 21, 2013)

 25   (applying Graham factors to battery claim). The court has already concluded, in the

 26   Fourth Amendment context, that Gutierrez’s actions may not have been constitutionally

 27   reasonable. Therefore, the court denies summary judgment on Plaintiffs’ battery and
 28   assault claims against Gutierrez.

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 21 of 23 Page ID
                                 #:4113


                    5. Intentional Infliction of Emotional Distress
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             In California, a plaintiff prevailing on a claim of intentional infliction of emotional
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      distress must establish: “(1) extreme and outrageous conduct by the defendant with the
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      intention of causing, or reckless disregard of the probability of causing, emotional
  4
      distress; (2) the plaintiff's suffering severe or extreme emotional distress; and (3) actual
  5

  6   and proximate causation of the emotional distress by the defendant's outrageous

  7   conduct.” Hughes v. Pair, 46 Cal.4th 1035, 1050 (2009) (quotations omitted).

  8          The requirement of “extreme and outrageous” conduct closely follows the

  9   standard adopted for substantive due process liability under the Fourteenth

 10   Amendment. See Nelson v. City of Davis, 709 F. Supp. 2d 978, 993 (E.D. Cal. 2010) (citing

 11   County of Sacramento v. Lewis, 523 U.S. at 847), aff'd, 685 F.3d 867 (9th Cir. 2012)). The

 12   court determined earlier that Gutierrez’s conduct may constitute a Fourteenth

 13   Amendment substantive due process violation. For similar reasons, the court finds that

 14   Gutierrez’s actions may constitute intentional infliction of emotional distress.

 15                 6. Negligence

 16          To prevail on a theory of negligence under California law, Plaintiffs J.H. and

 17   J.N.G. must show that Defendants “had a duty to use due care, that [they] breached that

 18   duty, and that the breach was the proximate or legal cause of the resulting injury.” Hayes

 19   v. Cty. of San Diego, 57 Cal.4th 622, 629 (2013) (quotations omitted).

 20          As the California Supreme Court elucidated in Hayes, state negligence liability

 21   “can arise if the tactical conduct and decisions leading up to the use of deadly force

 22   show, as part of the totality of circumstances, that the use of deadly force was

 23   unreasonable.” Hayes, 57 Cal.4th at 626. A reasonable trier of fact could find that Officer

 24   Gutierrez acted negligently in the events leading to the shooting. See supra Part III.A.2. In

 25   addition, a reasonable trier of fact could conclude that Gutierrez negligently detained

 26   J.H. and J.N.G. after he had determined the gun was a toy, despite lacking any basis to

 27   believe the young men were dangerous or involved in criminal activity.
 28          C. Punitive Damages

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 22 of 23 Page ID
                                 #:4114


             Finally, Defendants move for summary judgment on Plaintiffs’ punitive damages
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      in their prayer for relief. The court addresses the propriety of punitive damages under
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      both federal law and state law below.
  3
                    1.   Federal Law
  4
             In a § 1983 action, punitive damages are recoverable against officers sued in their
  5

  6   individual capacities when the “conduct is shown to be motivated by evil motive or

  7   intent, or when it involves reckless or callous indifference to the federally protected

  8   rights of others.” Smith v. Wade, 461 U.S. 30, 56 (1983). As discussed above, a reasonable

  9   finder of fact could conclude that Gutierrez acted with reckless disregard to J.N.G. and

 10   J.H.’s rights with respect to the shooting. Moreover, a reasonable finder of fact could

 11   conclude that Gutierrez deliberately or recklessly prolonged the detention of J.H. and

 12   J.N.G without any basis for suspecting that the pair were involved in a crime.

 13                 2. State Law

 14          Under state law, punitive damages are proper when clear and convincing

 15   evidence shows that the defendant acted with oppression, malice or fraud. Cal. Civ. Code

 16   § 3294(a). In California courts, the “clear and convincing” standard for punitive damages

 17   applies to every stage of the litigation process, including summary judgment. See Adams

 18   v. Allstate Ins. Co., 187 F. Supp. 2d 1219 (C.D. Cal. 2002); Spinks v. Equity Residential

 19   Briarwood Apts., 171 Cal. App. 4th 1004 (2009). Reviewing the record evidence, the court

 20   concludes that a reasonable jury, accepting Plaintiffs’ facts as true and making all

 21   reasonable inferences in their favor, could find with clear and convincing evidence that

 22   Officer Gutierrez acted with “malice, oppression, or fraud,” and that Plaintiffs would

 23   thereby be entitled to an award of punitive damages.

 24

 25   IV. CONCLUSION

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 27

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Case 2:15-cv-07594-DDP-RAO Document 180 Filed 10/02/17 Page 23 of 23 Page ID
                                 #:4115


            For the reasons stated above, Defendant Amaral’s Motion for Summary Judgment
  1
      is GRANTED. Defendants the City of Los Angeles and Officer Gutierrez’s Motion for
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      Summary Judgment is GRANTED in part and DENIED in part. 7
  3

  4

  5   IT IS SO ORDERED.
  6

  7   Dated: October 2, 2017
  8

  9                                                   ___________________________________
 10                                                          DEAN D. PREGERSON
 11                                                     UNITED STATES DISTRICT JUDGE
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 26
      7Although Defendant City of Los Angeles moved jointly for summary judgment on the
 27   FAC, the court finds it premature to opine on the City of Los Angeles’ liabilities at this
 28   stage in the proceedings, particularly as Defendants have not expressly briefed this issue
      in their moving papers.
                                                   23
